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                                       UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF ILLINOIS
                                               EASTERN DIVISION

        In re:                             )                                 Chapter 11
                                           )
        HOME PRODUCTS INTERNATIONAL, INC., )                                 Case No. 22-06276
        et al., 1                          )
                                           )                                 Honorable Janet S. Baer
                     Debtors.              )
                                           )                                 (Joint Administration Requested)

              DECLARATION OF JAMES AUKER IN SUPPORT OF FIRST DAY MOTIONS

                    I, James Auker, state the following under penalty of perjury:

                    1.     I am the Secretary, Treasurer, Executive Vice President and Chief Financial Officer

        of Home Products International, Inc. (“HPI”) and Home Products International – North America,

        Inc. (“HPI-NA”), the debtors and debtors-in-possession (the “Debtors”) in the above-captioned

        chapter 11 cases (the “Chapter 11 Cases”). I am familiar with the Debtors’ day-to-day operations,

        business affairs and books and records.

                    2.     I submit this declaration in support of the first-day applications and motions filed

        contemporaneously herewith in the Chapter 11 Cases. Except as otherwise indicated, all of the

        facts set forth in this declaration are based upon my personal knowledge, my review of relevant

        documents or information received from the Debtors’ employees under my supervision or other

        employees whose duties encompass the matters about which they have provided the information.

        If I were called as a witness, I could and would testify competently to the factual statements set

        forth herein. All capitalized terms used but not defined herein shall have the meanings given them

        in the respective motions.




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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal identification number
        are: Home Products International, Inc. (7027) and Home Products International-North America, Inc. (0451).


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        I.          BACKGROUND OF THE DEBTORS

                    3.   HPI-NA manufactures a variety of household and commercial products, including

        plastic storage totes, carts, and bins, at its plant in Chicago, Illinois and steel ironing boards at its

        plant in Seymour, Indiana. HPI-NA is the only ironing board manufacturer located in the United

        States.

                    4.   The Debtors’ major customers include Walmart, Target, Amazon, Ace Hardware,

        Family Dollar, Uline, and numerous hospitality chains such as Hyatt, Marriott, Red Roof, and

        Hilton. Their brand names include Homz® and Durabilt Extreme Storage®.

                    5.   The Debtors currently employ approximately 74 employees, 41 of whom work at

        the Debtors’ Chicago plant and 32 of whom work at the Debtors’ Seymour plant, and one in

        Bentonville, Arkansas.

                    6.   HPI-NA is a wholly owned subsidiary of HPI, which is headquartered in Chicago,

        Illinois, and has been doing business in Chicago for nearly 70 years. HPI-NA (i) rents its storage

        and warehouse spaces (approximately 494,420 square feet of space at the Midway Business

        Center, Chicago Illinois) and office location (4501 West 47th Street, Chicago, IL 60632) in

        Chicago, Illinois, and (ii) owns its plants in Seymour, Indiana (885 N. Chestnut Rd, 201 S. Jackson

        Park Dr, 400 S. Airport Rd, 110 W. 9th St – Seymour, IN 47274) (the “Seymour Real Property”).

        Assets of HPI-NA include the real property in Seymour, and the machinery and equipment,

        inventory, raw materials and other assets located at both plants.

                    7.   HPI-NA is the borrower under the Prepetition Loan Agreement (as described

        below) and a guarantor under the Second Lien Loan Documents (as described below).

        Accordingly, its liabilities include (i) the First Lien Obligations and the Second Lien Obligations

        (each as described below), and (ii) unsecured debt in the approximate amount of $19.5 million.



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                    8.    HPI is the parent holding company of HPI-NA, and does not own any real or

        personal property, but holds 100% of the stock of HPI-NA, which is estimated to be worth $0.

        HPI is the borrower under the Second Lien Loan Documents and an obligor under the Prepetition

        Loan Agreement. Accordingly, its liabilities include the First Lien Obligations and the Second

        Lien Obligations (each as described below).

        II.         FINANCIAL STRUCTURE

                    A.    First Lien Secured Debt with Eclipse.

                    9.    HPI-NA, as Borrower, and HPI, as Loan Party Obligor, are parties to that certain

        Loan and Security Agreement, dated of February 28, 2019 (as amended by that certain First

        Amendment to Loan and Security Agreement dated as of January 15, 2020, that certain Second

        Amendment to Loan And Security Agreement dated as of September 25, 2020, and that certain

        Third Amendment to Loan and Security Agreement dated as of December 17, 2020, and as further

        amended or otherwise modified from time to time, the “Prepetition Loan Agreement” and

        collectively with all other documents executed in Prepetition Loan, the “Prepetition Documents”),

        with Eclipse Business Capital SPV, LLC f/k/a Encina Business Credit SPV, LLC (“Eclipse” or the

        “First Lien Agent”, acting on behalf of itself and the lenders under the Prepetition Loan

        Agreement), pursuant to which First Lien Agent agreed to make certain revolving and term loans

        to HPI-NA (the “Prepetition Loans”), in exchange for a first lien on and security interest (the

        “Prepetition Liens”) in and against all assets of HPI-NA, including all real estate, including the

        Seymour Real Property, and personal property, now or hereafter acquired, and the proceeds thereof

        (the “Prepetition Collateral”).

                    10.   The initial loans and advances made under the Prepetition Documents were used

        by HPI-NA to refinance then-outstanding obligations and liabilities under an existing credit

        agreement with BMO Harris Bank N.A., and the other lenders thereto.

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                    11.   The Debtors and the First Lien Agent entered into that certain Forbearance

        Agreement and Sixth Amendment to Loan and Security Agreement on November 11, 2021, which

        has since expired in accordance with its terms.

                    12.   The Debtors and the First Lien Agent entered into that certain Second Forbearance

        Agreement and Seventh Amendment to Loan and Security Agreement on December 17, 2021,

        which has since expired in accordance with its terms.

                    13.   The Debtors and the First Lien Agent entered into that certain Third Forbearance

        Agreement and Seventh Amendment to Loan and Security Agreement on March 14, 2022 (the

        “Third Forbearance Agreement”), which has since expired in accordance with its terms. The

        Debtors have been unable to negotiate an extension to the Third Forbearance Agreement.

                    14.   As of the Petition Date, the total outstanding obligations owed by HPI-NA, as

        borrower, and HPI, as obligor, to the First Lien Agent under the Prepetition Documents is

        $16,921,060.81, broken down as follows: (a) outstanding Revolving Loans (as defined in the

        Prepetition Documents) in the principal amount of $13,031,058.81, (b) outstanding M&E Term

        Loans (as defined in the Prepetition Documents) in the principal amount of $2,264,377.00, and (c)

        outstanding Real Estate Term Loans (as defined in the Prepetition Documents) in the principal

        amount of $1,400,625.00 (collectively, the “First Lien Obligations”).

                    B.    Second Lien Secured Debt.

                    15.   On December 20, 2006, the Debtors filed for bankruptcy protection in the United

        States Bankruptcy Courts for the District of Delaware (Case Nos. 06-11457 and 06-11458).

                    16.   On March 8, 2007, the Debtors confirmed a plan of reorganization that resulted in

        a more streamlined and efficient business, focusing on the Chicago and Indiana manufacturing

        plants.



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                    17.   As part of the exit from restructuring, HPI, as borrower, entered into that certain

        Securities Purchase Agreement dated as of March 20, 2007 (the “Original Agreement”) with

        certain Persons listed as purchasers on the signature pages thereof or who otherwise agreed to be

        bound as purchasers (collectively, the “Initial Purchasers”), HSBC Bank USA, N.A., as the agent,

        and the collateral agent, pursuant to which Borrower issued the 2007 Notes (as defined below) to

        the Initial Purchasers.

                    18.   HPI, certain Holders of the 2007 Notes and HSBC Bank USA, N.A. as the agent

        and the collateral agent, amended and restated the Original Agreement pursuant to the Amended

        and Restated Securities Purchase Agreement dated as of June 19, 2012 (the “First Restated

        Agreement”).

                    19.   HPI offered to the Holders of the Notes then outstanding under the First Restated

        Agreement (the “2007 Notes”) the opportunity to exchange (the “First Exchange Offer”) their

        2007 Notes for a new series of Notes designated as its 6% Senior Secured Convertible Notes due

        2017 (the “2017 Notes”) pursuant to the terms and conditions of an Offering Memorandum and

        Letter of Transmittal, each dated January 12, 2017, as amended pursuant to terms thereof.

                    20.   HPI, certain Holders of the 2007 Notes and HSBC Bank USA, N.A. as the agent

        and the collateral agent amended and restated the First Restated Agreement pursuant to the Second

        Amended and Restated Securities Purchase Agreement dated as of March 6, 2017 (the “Second

        Restated Agreement”).        In connection with the Second Restated Agreement, HPI-NA, as

        guarantor, entered into that certain Continuing Guaranty Agreement which guarantees the

        obligations of HPI under the Second Restated Agreement.

                    21.   HPI offered to the Holders of the 2017 Notes currently outstanding under the

        Second Restated Agreement the opportunity to exchange (the “Second Exchange Offer”) their



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        2017 Notes for up to $20,000,000 total aggregate principal amount of a new series of Notes created

        and issued thereunder designated as its 6% Senior Secured Notes due 2022 (the “2022 Notes” or

        the “Notes”) and $25,200,233 of its Series A Preferred Stock (the “Preferred Stock”) pursuant to

        the terms and conditions of an Offering Memorandum and Letter of Transmittal, each dated

        September 28, 2017, as amended pursuant to terms thereof.

                    22.   HPI, certain Holders of the Notes, GLAS USA LLC, as the Agent, and GLAS

        AMERICAS LLC, as the Collateral Agent (and together with Agent, collectively, the “Second

        Lien Agent”, and further together with the Holders of Notes, the “Second Lien Lenders”), amended

        and restated the Second Restated Agreement pursuant to the Third Amended and Restated

        Securities Purchase Agreement dated as of October 31, 2017 (the “Third Restated Agreement”).

        In connection with the Third Restated Agreement, HPI-NA, as guarantor, entered into that certain

        Amended and Restated Continuing Guaranty Agreement which guarantees the obligations of HPI

        under the Third Restated Agreement (the “HPI-NA Guaranty”).

                    23.   In connection with entry into the Prepetition Documents, HPI, certain Holders of

        the Notes, and the Second Lien Agent, amended and restated the Third Restated Agreement

        pursuant to the Forth Amended and Restated Securities Purchase Agreement, dated as of February

        28, 2019 (as amended from time to time, the “Fourth Restated Agreement”, and together with all

        ancillary documents related thereto, including any instruments or documents executed at any time

        in connection therewith or related thereto and applicable law, the “Second Lien Loan

        Documents”).

                    24.   Pursuant to the Second Lien Loan Documents, HPI granted to the Second Lien

        Lenders a lien on and security interest (the “Second Lien Security Interest”) in and against all

        assets of HPI, including all real estate and personal property, now or hereafter acquired, and the



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        proceeds thereof (the “Second Lien Collateral”). 2 The HPI-NA extends to the obligations of HPI

        under the Second Lien Loan Documents.

                    25.     The Debtors failed to pay the October 2021 interest payment and the April 2022

        interest payments that were due the Second Lien Lenders due to lack of liquidity driven by adverse

        business conditions, including raw materials price inflation and the inability to pass those increases

        along to customers. The Debtors are not in a position to repay the outstanding 2022 Notes when

        they are due on December 20, 2022.

                    26.     As of the Petition Date, the total outstanding obligations owed by HPI, as borrower,

        and HPI-NA, as guarantor, to the Second Lien Lenders under the Second Lien Loan Documents

        are (i) $20 million in principal due on December 20, 2022, and (ii) $1,562,821.46 in unpaid interest

        that is due and owing (collectively, the “Second Lien Obligations”).

                    C.      Intercreditor Agreement.

                    27.     In connection with the entry into the Prepetition Documents and the Second Lien

        Documents, the First Lien Agent and the Second Lien Agent entered into that certain Intercreditor

        Agreement, dated as of February 28, 2019, pursuant to which the parties thereto acknowledged

        that the Prepetition Liens are superior to and have priority over the Second Lien Security Interests

        with respect to the Collateral.

                    D.      The Reasons for Chapter 11.

                    28.     The Debtors utilize resin to produce plastic storage products and steel to produce

        ironing boards. The price of resin and steel has been extremely volatile during the past two years,

        with resin prices doubling and steel prices tripling. The Debtors have had only moderate success

        passing along those price increases to its customer base. In addition, labor costs, transportation



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            The Prepetition Collateral and Second Lien Collateral are collectively referred to herein as the “Collateral”.

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        costs, and utility costs have increased markedly as well—all of which have led to increased

        production costs. At the same time, supply chain issues and funding issues have caused gaps in

        production. In other words, while there is significant demand for its products, margins remain

        low, reducing cash flow and leading to the inability to fully fund the business.

                    29.   Over the past six months, the Debtors have negotiated and executed a series of

        forbearance agreements with Eclipse in the hopes that the market conditions would

        stabilize. During this same time period, the Debtors engaged professionals (including appointing

        Daniel Rose from Silverman Consulting as the Chief Restructuring Officer on February 28, 2022)

        to assist them.

                    30.   At this point, seemingly nothing will change the trajectory of the plastics and

        ironing board business lines. Neither resin nor steel prices are expected to moderate sufficiently

        in the near future. The supply chain crisis is not expected to change in the near future. Eclipse is

        no longer willing to advance funds to the Debtors to cover the Debtors’ continuing operating

        losses. And, finally, the Debtors have not at this point been able to secure any going concern

        purchasers for either of its plastics or ironing board business lines. Despite actively seeking

        funding from Eclipse and other sources and actively trying to sell the Debtors’ business as a going-

        concern in order to prevent a shutdown of businesses, the need for winding down the business

        became imminent.

                    31.   Accordingly, on March 15, 2022, HPI-NA announced the closing of its Seymour

        operation and issued WARN Act Notices to its employees in Seymour, Indiana. The Debtors’

        decision to issue WARN Act notices to its Seymour employees on March 15, 2022 was a direct

        result of Debtors’ inability to secure a going concern bidder for the ironing board business or obtain

        financing from Eclipse (or an alternative funding source) for the ironing board business on a long-



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        term basis. As a result, the Debtors began the orderly wind-down of the Debtors’ ironing board

        business in Seymour. At the time this decision was made in March, the Debtors anticipated that

        they would eventually shutter the Seymour plant, and then reduce enough overhead expenses and

        costs to save the plastics business in Chicago or find a going concern purchaser for the plastics

        business.

                    32.   Unfortunately, the same fate awaited the plastics business, as commodity inflation

        has accelerated and general business conditions in the United States have deteriorated since March

        2022. The Debtors have not been able to secure a going concern purchaser for the plastics

        business, and could not obtain financing from Eclipse (or any other funding source) on any basis

        other than a path that would result in the orderly wind-down of the plastics business.

                    33.   At this point, despite its active, ongoing efforts to secure additional capital or sell

        the businesses as going-concerns, the Debtors have elected to file for Chapter 11 in order effectuate

        an orderly wind-down of its businesses. The Debtors will continue to fill as many pending orders

        as they can with inventory on hand, until the end of June (based on the current inventory levels).

        The Debtors are also actively working with their customers to collect on existing accounts

        receivable. It is currently anticipated that the collections process (which, in many respects, is tied

        to the order filing process) will continue until at least July.

                    E.    Sale Efforts.

                    34.   The Debtors hired professionals earlier in the year, namely Silverman Consulting

        (first as turnaround advisors and then expanded to include a Chief Restructuring Officer role),

        Cushman Wakefield (real estate brokers), and Promontory Point Capital (investment bankers), to

        market the Debtors’ two business lines in an effort to find a going-concern purchaser for the

        Debtors’ businesses and/or sell the Debtors’ real property and personal property.



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                    35.   Ultimately, the Debtors’ professionals were unable to find any going concern

        purchasers, but they were able to structure contracts regarding the sale and purchase of some of

        the Debtors’ real and personal property.

                    36.   Specifically, the Debtors have entered into that certain Purchase Agreement dated

        as of May 19, 2022 (as amended, supplemented, or otherwise modified by that certain Counter

        Offer #4 dated as of May 27, 2022), between HPI-NA and TDAK Development, Inc. (the “TDAK

        Real Estate Agreement”), in connection with the sale of the property commonly known as 201 S.

        Jackson Park Dr., 400 South Airport Road, Seymour, Indiana for $3 million. A copy of the TDAK

        Real Estate Agreement is attached hereto as Exhibit A.

                    37.   The Debtors have entered into that certain Auction Agreement, dated as of May 27,

        2022 (the “Auctioneer Agreement”), by and among HPI-NA, Hyperams, LLC, and Branford

        Auctions, LLC (collectively, the “Auctioneer”), pursuant to which the Debtors have engaged the

        Auctioneers to sell machinery and equipment at both the Chicago and Seymour plants, for a

        guaranteed a sale price of no less than $3.8 million. A copy of the Auctioneer Agreement is

        attached hereto as Exhibit B.

                    38.   The Debtors expect to file a series of “second day” motions to facilitate the

        aforementioned sales and continued wind-down of the Debtors’ businesses, i.e., a motion retain

        the Auctioneer; motions to approve the sale of its real and personal property under the respective

        agreements pursuant to Section 363 of the Bankruptcy Code; motions to retain Silverman

        Consultants and Foley and Lardner (both whom have critical pre-petition knowledge of the

        aforementioned sales and the Debtors’ wind-down plans); and a motion to retain Blank Rome (to

        assist on certain tariff issues).




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                    39.     All of these motions will need to move on shortened notice as I am of the opinion

        that the current economic conditions in the United States are deteriorating rapidly and that is likely

        that the value of the Debtors’ assets will continue to decrease as the weeks and months progress.

                    40.     At this point, the Debtors intend to use the Chapter 11 process to continue to wind

        down their businesses in an orderly manner and then ultimately file a liquidating plan once all

        operations have ceased and the aforementioned asset sales are completed. It is highly likely that

        there will no payout for unsecured creditors and it is highly likely that the Second Lien Lenders

        will incur a significant write down of their debts based on the Debtors’ best estimates.

        III.            FIRST DAY MOTIONS

                    41.     Concurrently with the filing of these Chapter 11 Cases, the Debtors have filed a

        number of First-Day Motions, which are described briefly below. I have reviewed each of the

        First-Day Motions (including the exhibits thereto), and I believe that the relief sought in each of

        the First-Day Motions (a) is necessary to enable the Debtors to operate in chapter 11 with a

        minimum of disruption or loss of business, (b) constitutes a critical element in achieving a

        successful conclusion to the Chapter 11 Cases of the Debtors and (c) is in the best interests of the

        Debtors, their estates and parties in interest.

                    42.     The First-Day Motions seek relief aimed at, among other things, maintaining

        customer loyalty and supplier confidence, as well as maintaining employee morale. The First-Day

        Motions consist of the following pleadings (some of which will be noticed for further hearing):

                    •       Debtors’ Motion for Entry of an Order Directing Joint Administration of Related
                            Chapter 11 Cases (the “Joint Administration Motion”);

                    •       Debtors’ Motion for Entry of an Order (I) Extending Time Within Which to File
                            Schedules and Statements of Financial Affairs, and (II) Granting Related Relief
                            (the “Extension Motion”);

                    •       Motion for Entry of an Order (I) Authorizing Consolidated Creditors Lists, (II)
                            Authorizing Redaction of Certain Personal Identification Information, (III)

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                          Limiting the Scope of Notice, and (IV) Approving the Form and Manner of
                          Notifying Creditors of the Commencement of the Chapter 11 Cases (the
                          “Consolidated Creditors Motion”);

                    •     Debtors’ Consensual Motion for Interim and Final Order (I) Authorizing Debtors
                          to Use Cash Collateral, (II) Granting Adequate Protection to Eclipse Business
                          Capital LLC, as Agent, (III) Scheduling a Final Hearing, and (IV) Granting Related
                          Relief (the “Cash Collateral Motion”);

                    •     Debtors’ Motion for Entry of Order Authorizing (A) Continued Use of (I) Existing
                          Bank Accounts and (II) Business Forms and (III) Cash Management System and
                          (B) Waiver of Investment Guidelines (the “Cash Management Motion”); and

                    •     Debtors’ Motion for Entry of Order (A) Authorizing (I) Payment of Employee
                          Wages, Salaries, and Accrued Prepetition Benefits, (II) Contributions to Employee
                          Benefit Plans, (III) Payment of Funds Deducted From Payroll, and (IV)
                          Reimbursement of Employee Expenses, and (B) Directing All Banks to Honor
                          Related Checks (the “Wages Motion”).

                    B.    Administrative Motions

                          i.     The Joint Administration Motion

                    43.   By the Joint Administration Motion, the Debtors request entry of the Proposed

        Order, pursuant to section 105(a) of the Bankruptcy Code and Bankruptcy Rule 1015, directing

        the joint administration and consolidation of the Chapter 11 Cases for procedural purposes only.

                    44.   Many of the motions, applications, hearings, and orders that will arise in these

        Chapter 11 Cases will jointly affect the Debtors. More importantly, the Debtors’ finances are

        intertwined. For these reasons, the joint administration of these Chapter 11 Cases—for procedural

        purposes only—would best serve the interests of the Debtors, their creditors, and other parties in

        interest, and will allow for an efficient and economical administration of the Chapter 11 Cases.

                    45.   For the foregoing reasons, the Debtors submit, and I believe that the relief requested

        in the Joint Administration Motion is in the best interest of the Debtors, their estates and their

        creditors, and therefore should be approved.




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                          ii.    The Extension Motion

                    46.   By the Extension Motion, the Debtors seek an order extending the time by which

        to file the Schedules and Statements for an additional 30 days to and including June 16, 2022.

                    47.   The Debtors have already commenced the extensive process of gathering the

        necessary information to prepare and finalize the Schedules and Statements, but believe that the

        fourteen-day period to file the Schedules and Statements provided by Bankruptcy Rule 1007(c)

        will not be sufficient to permit completion of the Schedules and Statements.

                    48.   The Debtors have hundreds of parties in interest. While preparations have begun,

        Debtors have not had a sufficient opportunity to gather the necessary information to prepare and

        file their Schedules and Statements. Although the Schedules and Statements were not filed with

        the Debtors’ petitions, attached to the Debtors’ petitions was a list containing the names and

        addresses of their thirty largest unsecured creditors. The Debtors also filed their consolidated

        creditor matrix along with their petitions.

                    49.   The Debtors estimate that, at this juncture, it will require an additional 30 days (for

        a total of 44 days), to and including June 16, 2022, by which to file their Schedules and Statements.

        The Debtors thus request that the Court establish June 16, 2022 as the date on or before which

        each must file their Schedules and Statements, without prejudice to the Debtors’ right to seek any

        further extensions from this Court, or to seek a waiver of the requirement of filing certain

        schedules.

                    50.   For the foregoing reasons, the Debtors submit, and I believe, that the relief

        requested in the Extension Motion is in the best interest of the Debtors, their estates and their

        creditors, and therefore should be approved.




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                          iii.   The Consolidated Creditors Motion

                    51.   For the same reasons, Debtors submit, and I believe that the relief requested in the

        Consolidated Creditors Motion would best serve the interests of the Debtors, their creditors, and

        other parties in interest and will allow for efficient and economical administration of the Chapter

        11 Cases.

                    52.   By the Consolidated Creditors Motion, the Debtors seek an order from the Court

        (i) authorizing the Debtors to file a consolidated creditor matrix in lieu of submitting separate

        mailing matrices and creditor lists for each Debtor, (ii) authorizing the Debtors to redact certain

        personal identification information for individual creditors, (iii) approving a limited notice

        procedure for the Debtors’ employees; (iv) approving service on equity holders through the

        Debtors’ Stock Transfer Agent, and (v) approving the form and manner of notice of

        commencement of these Chapter 11 Cases and the scheduling of the meeting of creditors under

        section 341 of the Bankruptcy Code

                    53.   A consolidated creditor matrix will alleviate an unnecessary burden for the Court,

        the Debtors, and the Debtors’ professionals while the Debtors are adjusting to bankruptcy and

        focusing on developing a value-maximizing chapter 11 plan and a sale process to effectuate an

        ordering wind down.

                    54.   Moreover, the Debtors request permission to redact certain information of

        individual creditors in the creditor matrix and in the Debtors’ Schedules—namely, the Debtors’

        employees—from the Creditor Matrix and from the Schedules filed by each Debtor because such

        information is sensitive and could be used to perpetrate identity theft.

                    55.   For the foregoing reasons, the Debtors submit, and I believe that the relief requested

        in the Consolidated Creditors Motion is in the best interest of the Debtors, their estates and their

        creditors, and therefore should be approved.

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                    C.    Business Operations

                          i.     The Cash Management Motion

                    56.   Before the Petition Date, the Debtors in the ordinary course of business, maintained

        several bank accounts (the “Bank Accounts”). A true and correct list of the Bank Accounts is

        included in the Cash Management Motion and is as follows:


              Account                 Entity                  Description                       Bank

          xxx0625              HPI-NA                  Disbursements Account BMO Harris Bank

          xxx0674              HPI-NA                  Receipts Account            BMO Harris Bank

          xxx1655              HPI-NA                  Restricted Cash             BMO Harris Bank



                    57.   The Debtors seek a waiver of the U.S. Trustee’s requirement that the Bank

        Accounts be closed and new postpetition bank accounts be opened. Maintenance of the Bank

        Accounts would greatly facilitate the Debtors’ “seamless transition” to postpetition operations.

        The delays, confusion and disruption that might result from requiring the Debtors to substitute new

        bank accounts for the existing Bank Accounts could strain their relationships with various critical

        parties in interest, including vendors and employees.

                    58.   It will facilitate the Debtors’ reorganization efforts if they are permitted to deposit

        and withdraw funds from the Bank Accounts by all usual means, including, without limitation,

        checks, wire transfers, Automated Clearing House transfers and other debits.

                    59.   In order to minimize expense to their estates, the Debtors request authority to

        continue to use all stationery, correspondence and business forms (including, but not limited to,

        purchase orders, multi-copy checks, letterhead, envelopes, promotional materials and other

        business forms), as well as checks existing immediately before the Petition Date, without reference


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        to their status as debtors-in-possession. The Debtors intend to purchase new business forms during

        the pendency of these Chapter 11 Cases, without any legend reflecting the Debtors’ status as

        debtors-in-possession.

                    60.   The Debtors, in the ordinary course of their business, use various preprinted

        business forms. A substantial amount of time and expense would be required in order to print new

        business forms, and many of the parties with whom the Debtors deal could be confused by a change

        in the Debtors’ forms. Furthermore, parties doing business with the Debtors will be aware of the

        Debtors’ status as chapter 11 debtors-in-possession. Accordingly, changing such forms would be

        unnecessary and burdensome to the estates, as well as expensive and disruptive to the Debtors’

        business operations.

                    61.   The Debtors seek authority to continue utilizing their current cash management

        system. HPI does not maintain any bank accounts or investment accounts. As explained in the

        Auker Declaration, all business is transacted through HPI-NA.

                    62.   HPI-NA uses, in the ordinary course of its business, a centralized, integrated cash

        management system to collect funds from its operations and to pay operating and administrative

        expenses in connection with those operations (the “Cash Management System”). As shown above,

        this system consisted of three bank accounts (collectively, the “BMO Accounts”) maintained at

        BMO Harris Bank, N.A. (“BMO”), an FDIC-insured banking institution that is on the list of

        authorized depositories for the Northern District of Illinois.

                    63.   When HPI-NA receives a check or an ACH deposit, such funds are deposited into

        the BMO Account bearing number xxx0674 (the “BMO Receipts Account”). At approximately

        11:00 A.M. each day, the First Lien Agent sweeps the funds from the BMO Receipts Account to




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        its own account at another financial institution in accordance with the Prepetition Documents by

        and between the Debtors and the First Lien Agent.

                    64.   HPI-NA makes funding requests to the First Lien Agent on a daily basis. Once the

        First Lien Agent approves the request, it deposits funds into the BMO Account bearing number

        xxx0625 (the “BMO Disbursements Account”). The funds in the BMO Disbursements Account

        are used to fund all of HPI-NA’s operations, including payroll, payments to vendors, and

        operational expenses. The funds deposited by the First Lien Agent pursuant to funding requests

        remain in the BMO Disbursement Account until they are used.

                    65.   HPI-NA also maintains a restricted cash account bearing number xxx1655 (the

        “BMO Restricted Cash Account”) which is used to guarantee letters of credit for certain

        agreements including U.S. Customs duties.

                    66.   In the event the Debtors’ operations result in a cash surplus, they intend to retain

        and use that cash in their continued operations or invest such funds in accordance with § 345 of

        the Bankruptcy Code, as modified by the Cash Management Motion.

                    67.   A successful reorganization of the Debtors’ business, as well as the preservation

        and enhancement of their value as going concerns, simply cannot be accomplished if there is

        substantial disruption in the Cash Management System. Therefore, it is essential that the Debtors

        be permitted to continue their current management of cash. The Debtors currently maintain and

        will continue to maintain detailed accounting records of the Cash Management System.

                    68.   The basic transactions incident to the Cash Management System described above

        constitute customary and essential business practices. The Cash Management System is similar to

        those commonly employed by corporate enterprises comparable to the Debtors in size and

        complexity. The widespread use of such systems, moreover, is attributable to the numerous



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        benefits they provide, including the ability to (a) control corporate funds, (b) invest idle cash, (c)

        ensure cash availability and (d) reduce administrative expenses by facilitating the movement of

        funds and the development of timely and accurate account information.

                    69.   The Debtors seek a waiver of the requirement of § 345(b) of the Bankruptcy Code

        that the estates secure from the entity with which its money is deposited or invested a bond in favor

        of the United States secured by the undertaking of an adequate corporate surety. All of the Debtors’

        bank accounts are in financially stable banking institutions insured by the Federal Deposit

        Insurance Corporation. The Debtors submit that cause for a waiver of the requirements of § 345

        of the Bankruptcy Code therefore exists in these Chapter 11 Cases.

                          ii.    The Cash Collateral Motion

                    70.   As described above, the Debtors intend to operate for a short period to fulfill

        standing orders, and then wind down their businesses and effectuate a sale of assets in Chicago

        and Indiana solely on the use of the existing Cash Collateral. Access to existing Cash Collateral

        on an interim basis is essential to and will provide the Debtor with sufficient working capital and

        liquidity to operate its business until an ordinary wind down is completed, and thus preserve and

        maintain the value of the Debtors’ estates. Without access to such liquidity, the Debtors and their

        estates will suffer immediate and irreparable harm and these bankruptcy proceedings will be

        jeopardized to the significant detriment of the Debtors’ estate and its creditors. The Debtors’

        immediate access to Cash Collateral is necessary to preserve and maximize the value for the benefit

        of all parties in interest.

                    71.   In particular, the Debtors have an immediate and critical need to use Cash Collateral

        to pay, in accordance with a 13-week budget (the “Budget”, a copy of which is attached to the

        Cash Collateral Motion), various items in the ordinary course of business and as authorized by the

        Court, including employees, employee benefits, utilities, material and shipping costs, and others

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        who, in the judgment of the Debtors’ management, provide the essential services needed to

        operate, maintain and insure the Debtors’ assets. At a minimum, the Debtors’ inability to use Cash

        Collateral would disrupt Debtors’ efforts to effectuate an orderly wind down and sale process,

        including fulfillment of pending outstanding orders, and would otherwise not be in the best

        interests of the Debtors, estates, or creditors.

                    72.   In addition, the Debtors require the use of Cash Collateral to retain and pay costs

        of professionals, consultants and advisors (e.g., Silverman Consultants, Foley & Lardner, and

        Blank Rome) who will enable the Debtors to conduct a sale of its assets in a manner that maximizes

        value for the Debtors’ estate and creditors, as may be approved by the Court. Taken together, the

        services provided by all of the foregoing parties and other entities are critical to the preservation

        of the Debtors’ business and asset value.

                    73.   The Debtors reasonably believe that use of Cash Collateral pursuant to the Budget

        will be adequate, considering all available assets, to pay all administrative expenses due or

        accruing during the period covered by the Budget, while they wind down their business and sell

        the Chicago and Indiana assets, as set forth in the Budget. At this time, Debtors do not anticipate

        a need for postpetition financing during the pendency of these Chapter 11 Cases, which will save

        thousands of dollars in fees and costs.

                    74.   Further, Eclipse has consented to the Debtors’ use of Cash Collateral, solely

        pursuant to the terms and conditions as set forth in the Cash Collateral Motion, the proposed

        Interim Order, and the Budget attached thereto. The Budget is the result of significant negotiations

        with Eclipse to ensure the Debtors have the breathing room they need for an orderly wind-down

        of their business operations and to pursue asset sales which will maximize creditor recoveries.




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                    75.   As set forth in detail the Cash Collateral Motion, First Lien Agent shall remit to

        Debtors on a daily basis all Cash Collateral received in the BMO Receipts Account (or otherwise)

        for expense to be paid in accordance with the Budget, subject to the Permitted Variance, plus the

        Working Capital Cushion (as defined in the Interim Order). First Lien Agent is authorized to apply

        all other Cash Collateral received (subject to any challenge during the investigation period): (i)

        first, to pay Allowable 506(b) Amounts (as defined in the Cash Collateral Motion); and (ii) second,

        to all other First Lien Obligations.

                    76.   In connection with the use of Cash Collateral, the Debtors have agreed to provide

        to the First Lien Agent as adequate protection, effective as of the Petition Date (but subject to an

        investigation period), valid and automatically perfected first-priority replacement liens and

        security interests in and on all real and personal property of the Debtors’ bankruptcy estates,

        including Cash Collateral, which shall secure any diminution in value of the First Lien Agent’s

        interests in the Collateral and the Debtors’ use of Cash Collateral. The Replacement Liens shall

        be subject and subordinate to a carve out for, among other things, UST and professional fees (the

        “Carve Out”).

                    77.   As additional adequate protection (but subject to the investigation period), the

        Debtor shall pay to Eclipse, as set forth in the Budget, from and after the Petition Date, monthly

        payment of principal, interest and reasonable fees, costs, and expenses, including reasonable

        attorneys’ fees and related expenses, due or to be due to the First Lien Agent under the Prepetition

        Documents (the “Adequate Protection Payments”).

                    78.   As security for the payment of the Adequate Protection Obligations, the First Lien

        Agent shall have an allowed administrative expense claim under Code § 507(b), with priority in

        payment over: (1) all costs and expenses of administration of the Case that are incurred under any



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        provision of the Code, including Code §§ 364, 503(b), 506(c), 507(a), or 552(b); provided,

        however, that such claims are subject to the Carve Out; and (2) the claims of any other party in

        interest under Code § 507(b).

                    79.   The Debtors believe that the terms of the use of Cash Collateral contained in the

        Cash Collateral Motion protect the First Lien Agent against any diminution in the value of its

        interests in the Cash Collateral resulting from the use, sale, or lease of the Cash Collateral. Further,

        the subordination of the First Lien Agent’s liens to the Carve Out and other priority liens are fair

        and reasonable, reflect the Debtors’ exercise of prudent business judgment consistent with their

        fiduciary duties, and are supported by fair consideration.

                    80.   After considering its alternatives, the Debtors have concluded that the use of Cash

        Collateral pursuant to the terms of the Interim Order represents the best option available to

        interested parties, which funds will be used to maintain the Debtors’ assets and maintain its high

        standards for the benefit of its residents during an orderly sale process.

                          iii.   The Wages Motion

                    81.   The Debtors are seeking First-Day relief to be able to pay employee pre-petition

        wages and salaries and maintain employee benefits and programs.

                    82.   As of the Petition Date, Debtors employed approximately 74 employees, of whom

        approximately 73 are full-time, and one is part-time. 74 employees are employed at the Debtors’

        Chicago facility, and 32 are employed in the Seymour, Indiana facility. Debtors also have one

        employee in Bentonville, Arkansas. Approximately 27 of the employees are hourly wage earners

        and 47are salaried employees. 10 of the employees in the Chicago facility are members of the

        Plastic Workers’ Union Local #18, AFL-CIO (the “Union”).

                    83.   The average monthly payroll for Debtors’ employees has historically been

        $1,260,000.00, however this number will decrease substantially as the Debtors have recently laid

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        off the majority of their hourly workers. Salaried employees are generally paid on a bi-weekly

        basis, and hourly employees are generally paid on a weekly basis. The prepetition amount of

        payment to be paid postpetition under this Motion is approximately $ approximately $14,417 for

        May 30 through June 1, 2022. The next payroll date, which will include these amounts, for the

        hourly wage earners is June 10, 2022. 3

                    84.   None of the Debtors’ employees are owed more than $15,150 for prepetition wages,

        salaries or commissions.

                    85.   Debtors offer their employees other forms of compensation through employee

        benefit programs, which are set forth in the Wages Motion at Paragraph 11. Debtors estimate that

        they owe $27,500 on account of their health insurance plan for their Chicago employees for the

        month of June. In addition, the Debtors estimate that they owe approximately $30,000 for other

        prepetition amounts, including the Debtors’ required contributions to the union retirement and

        health reimbursement accounts, contributions from employees for various voluntary benefit

        programs, fees for staffing agencies, and payroll processing fees. Through the Wages Motion, the

        Debtors seek the authority, in their discretion, to pay these amounts and continue the Employee

        Benefit Plans as they existed before the Chapter 11 Cases were filed.

                    86.   Many of the Debtors’ employees are completely reliant on the timely payment of

        their compensation to cover their monthly living expenses. Failure to allow full payment of these

        amounts would inflict great hardship on the employees and would likely result in many of them

        terminating employment with the Debtors. Moreover, nonpayment of these amounts would

        seriously damage morale at a time when the Debtors can ill afford to be without the full

        commitment of their employees.


        3
          Salaried employees have been paid through June 3, 2022 and consequently, there are no prepetition wages owed to
        those employees.

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                    87.    Payment of the Prepetition Compensation and Benefits and continuing, the

        employee benefit programs are vital to ensure a continued, well-qualified workforce at the Debtors

        and thus the continued smooth operation of the Debtors’ business as they proceed to an orderly

        liquidation.

        IV.         CONCLUSION

                    The relief requested in the First-Day Motions is necessary and in the best interests of the

        Debtors’ estates, creditors, and other parties in interest. Such relief will enable the Debtors to

        maintain the value of their business, rapidly conclude these Chapter 11 Cases and thereby

        maximize recoveries for all stakeholders.



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                                    AUCTION AGREEMENT


        THIS AUCTION AGREEMENT, dated as of May __, 2022 (this “Agreement”), is
made by and among HYPERAMS, LLC, an Illinois limited liability company, with its principal
place of business at 980 Carnegie Street, Rolling Meadows, IL 60008 (“HYPERAMS”), and
Branford Auctions, LLC, a Connecticut limited liability company, with its principal place of
business at 896 Main Street, Branford, CT (“Branford”), on the one hand, and Home Products
International – North America, Inc. (the “Company”), a Delaware corporation, with its principal
place of business at 4501 W. 47th Street, Chicago, IL 60632, on the other hand.

                                              WITNESSETH:


       WHEREAS, the Company manufactures a variety of household and commercial
products, including plastic storage totes, carts, and bins, at its plant in Chicago, Illinois, and steel
ironing boards at its plant in Seymour, Indiana;


        WHEREAS, has commenced an orderly winddown of its operations and is in the process
of preparing a voluntary petition for bankruptcy protection (the “Chapter 11 Bankruptcy Case”)
under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) in the United
States Bankruptcy Court for the Northern District of Illinois (the “Bankruptcy Court”);


       WHEREAS, the Company desires to engage an experienced auctioneer knowledgeable
and skilled in the disposition of the types of machinery, equipment and other assets located at the
Company’s plants in Chicago, Illinois and Seymour, Indiana;


       WHEREAS, HYPERAMS and Branford (collectively, the “Auctioneer”) are
experienced auctioneers and have, amongst themselves, entered into an agreement to share
responsibilities to assist the Company in the Company’s efforts to sell certain of its machinery,
equipment and other assets located at the Company’s plants in Chicago, Illinois and Seymour,
Indiana, as set forth herein; and


        WHEREAS, subject to an entry of an order of the Bankruptcy Court in the Chapter 11
Case approving this Agreement in form and substance acceptable to both Auctioneer and the
Company (the “Approval Order”), the Auctioneer is willing to serve as the Company’s asset
disposition agent, for the purpose of disposing of such assets as specified herein, upon the terms
and conditions and in the manner set forth in this Agreement.


       NOW, THEREFORE, in consideration of the mutual covenants and agreements
hereinafter set forth and other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties hereto agree as follows:



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        1.         DEFINITIONS


      For the purposes of this Agreement, the terms listed below shall have the respective
meanings indicated:


       1.1     “47th Street Facility” means the Company’s plastics division location at 4501 W.
47th Street, Chicago, IL 60632.


       1.2    “Archer Facility” means the Company’s plastics division location at 5507 S.
Archer, Chicago, IL 60638.


       1.3      “Assets” shall mean (i) the M&E Assets owned by the Company and physically
located at the Facilities, and will specifically include, without limitation, the items set forth on
Exhibit 1.1 hereto; (ii) effective on the Other Asset Start Date, the Other Assets.


       1.4     “Auction” shall mean a live webcast or timed online only auction sale of the
Assets to be conducted by Auctioneer on behalf of Company.

        1.5    “Buyer’s Premium” shall mean any industry standard charged to buyers during the
Sale (which Buyer’s Premium shall not exceed 18%, except if sale proceeds are paid by credit
card, in which case such Buyer’s Premium shall not exceed 21%).

       1.6     “Chicago Facilities” shall mean, collectively, the 47th Steet Facility and the
Archer Facility.

        1.7        “Facilities” shall mean the Chicago Facilities and the Seymour Facilities.

        1.8        “Guaranteed Amount” shall have the meaning set forth in Section 4.1

       1.9     “Inventory” shall mean, collectively, all remaining resin in bulk, other raw
materials, and finished goods.

       1.10 “M&E Assets” shall mean, collectively, the Company’s fabrication equipment,
presses, machinery, injection molding machines, molds, parts, tools, support equipment,
miscellaneous raw materials and resins, packaging, furniture, and fixtures.

        1.11 “Other Assets” means the remaining Inventory not currently under a purchase
order and intellectual property as of the Other Asset Start Date. Any proceeds from the
Resolution and Settlement Agreement pertaining to the elimination of the anti-dumping tariffs
are not to be included in connection with this Agreement.

     1.12 “Other Asset Start Date” means the date that the Company informs Auctioneer to
commence the sale of the Other Assets; but in no event later than June 24, 2022.

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           1.13    “Potential Purchasers” shall include the entities identified in Exhibit 1.2.


        1.14 “Proceeds” shall mean the amount of sale proceeds received for any Asset during
the Sale, exclusive of Buyer’s Premium.


        1.15 “Sale” shall mean the process of setting up for the Auction, making presales of
the Assets, holding the Auction of the Assets, conducting sales of any Assets remaining unsold
after the Auction and managing the collection of Proceeds and the removal of the Assets, along
with the disposition of the Other Assets commencing on the Other Asset Start Date.


       1.16 “Sale Budget” means the budget for the Sale Expenses related to the Other Assets,
which shall be agreed to in writing on or prior to the Other Asset Start Date.1


       1.17 “Sale Expenses” shall mean, with respect to the Sale, direct operating expenses
incurred by Auctioneer in connection therewith. Such Sale Expenses shall not include any
occupancy expenses with regard to the Facilities.


        1.18 “Sale Start Date” shall mean the date that Auctioneer is allowed access to begin to
set up and catalog the Assets to conduct the Sale. The Sale Start Date shall be no later than (i)
one (1) business day after entry of the Approval Order if the Approval Order is entered on or
before June 6, 2022; (ii) as agreed to be by the parties in writing if the Approval Order is entered
after June 6, 2022.


      1.19 “Sale Term” shall mean the period of time beginning with the date of this
Agreement and ending on the Sale Termination Date.


        1.20 “Sale Termination Date” shall mean (i) with respect to the M&E Assets (A)
Auctioneer shall use its best efforts to complete the sale on or before the 90th day after the Sale
Start Date for the Seymour Facilities and the Archer Facility; and (B) Auctioneer shall use its
best efforts to complete the sale on or before the 90 days after the Sale Start Date for the 47th
Street Facility; in each case as may be extended by the parties in writing and (ii) with respect to
the Other Assets, a date to be agreed to by the parties in writing.

       1.21 “Services” shall mean the asset disposition services to be performed by
Auctioneer pursuant to Section 2.2 of this Agreement.

        1.22 “Seymour Facilities” shall mean, collectively, the Company’s metal stamping
locations at 110 West 9th Street, Seymour, Indiana 47424, 885 North Chestnut Street, Seymour,
Indiana 47424 and 201 S. Jackson Park Drive, Seymour, Indiana 47424.



1
    NTD: Sales Budget not relevant to sale of M&E on account of Guaranteed Amount and expense cap
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       1.23 “Termination Fee” shall be equal to the sum of Guaranteed Amount plus Two
Hundred Fifty Thousand Dollars ($225,000) multiplied by five percent (5.0%), calculated as
follows: ($3,800,000 + $225,000) * 5% = $201,250.


        2.         ASSET DISPOSITION AGENT

        2.1     The Company hereby appoints Auctioneer, and Auctioneer hereby agrees to
serve, as an independent asset disposition agent to the Company in connection with the conduct
of the Sale and shall be the sole and exclusive Auctioneer to conduct the Services with respect to
the Assets during the Sale Term.


        2.2     On the terms and conditions set forth herein, during the Sale Term, Auctioneer
shall provide the Company with the following Services with respect to the conduct of the Sale:


       (a)     move, organize, implement, manage and conduct the Sale of all the Assets;
Auctioneer may abandon in place any Assets not sold or removed by purchasers during the Sale,
provided that any Assets abandoned by Auctioneer may be sold, removed or otherwise disposed
by the Company or its designee free and clear, and without any payment, of any claim or interest
of Auctioneer;

       (b)     provide an adequate number, at Auctioneer’s sole discretion, of qualified
personnel to conduct the Sale set-up and Auction, supervise the Asset removal and, as may be
applicable, manage the orderly liquidation of the Inventory in conjunction with the Company;

        (c)    implement an advertising campaign to effectively sell the Assets at the Sale.
Auctioneer shall be authorized to use the business name of “Home Products International” in
advertising placed by Auctioneer;

        (d)        lot, tag and catalogue those Assets to be sold during the Auction; and

        (e)    provide such other related services, deemed necessary or prudent by Auctioneer to
effectively maximize the proceeds from the sale of such Assets.

        2.3     In connection with the Services, Auctioneer shall directly retain and engage the
personnel as it deems necessary. Such personnel are employees, or independent contractors
engaged as agents, of Auctioneer, and are not and shall not be deemed to be employees of the
Company in any manner whatsoever. In consideration of Auctioneer’s engagement of the
necessary personnel, Sale Expenses shall include such personnel’s compensation and expenses
related to the Services in amounts not to exceed those set forth in the Sale Budget for such
matters.


        2.4     All sales of Assets shall be made by Auctioneer as agent in fact for the Company.
Title to the Assets shall remain with the Company until the Assets are sold to buyers and
payment in full therefore has been received.

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      2.5     Auctioneer is authorized to accept cash, guaranteed checks or wire transfers as
payment for the Assets sold.


        2.6    Auctioneer shall sell the Assets “AS IS”, without any representations of any kind
or nature whatsoever, including as to merchantability or fitness for a particular purpose, and
without warranty or agreement as to their condition. The Company acknowledges that
Auctioneer is acting solely in the capacity of Auctioneer for the Company and has no knowledge
with respect to the fitness or usability of any of the Assets.


       2.7    Auctioneer reserves the right to sell the Assets before or after the Auction if
reasonably necessary. The Assets may be sold in such lots as Auctioneer may reasonably
determine.


        3.         EXPENSES


        3.1     Sale Expenses related to the sale of the M&E Assets at the Auction shall be the
sole responsibility of the Auctioneer. To the extent that Sale Expenses must be paid in advance
of receipt of proceeds of any Auction, Auctioneer shall be responsible for the payment of such
Sale Expenses subject to recovery as provided in Section 4.1 below.


        3.2    Sale Expenses related to the sale of the Inventory on an orderly basis shall consist
of actual personnel expenses, travel, marketing and outside sales commissions not to exceed
Fifty Thousand Dollars ($50,000). Auctioneer shall advance those Sale Expenses and shall
reimburse itself for such out of the Proceeds provided that Auctioneer has delivered reasonable
documentation of such Sale Expenses related to the sale of Inventory to the Company. In the
event that payment of the Proceeds is made to the Company pursuant to Section 8.11 of this
Agreement or otherwise, Auctioneer shall be permitted to remit to the Company an invoice each
week for payment of its commissions and Sales Expenses related to Proceeds collected by the
Company, which invoice shall be paid within two business days.


        3.3      Auctioneer shall collect from the applicable buyers all sales taxes required to be
paid in connection with the Auction of the Assets, if any, and shall promptly remit such taxes to
the appropriate governmental authority. Auctioneer shall prepare and process all reporting forms,
certificates, reports and other documentation required in connection with the payment of all
applicable sales taxes with respect to the sale of the Assets. The Company shall not be liable for
any applicable sales taxes arising in connection with the Sale except to the extent that it invoices
Inventory pursuant to Section 8.11 of this Agreement.


        4.         AUCTIONEER’S GUARANTEE AND FEE


     4.1    Auctioneer hereby guarantees to the Company that the Proceeds from the Sale of
M&E Assets shall be no less than $3,800,000 (the “Guaranteed Amount’’). Auctioneer shall pay
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$760,000 on account of the Guaranteed Amount to the Company within two (2) Business Days
of the later of the entry of the Approval Order and completion of the Inspection, as defined
below (the “Initial Payment”).


        Prior to paying the Initial Payment, Auctioneer will be allowed to inspect the M&E
Assets set forth on Schedule 1.1 (the “Inspection”) to ensure that the M&E Assets set forth on
Schedule 1.1 are actually located at the Facilities and in normal working order and that press 55
has been repaired and is in normal working order. If any of the M&E Assets set forth on
Schedule 1.1 have been removed, or the M&E Assets set forth on Schedule 1.1 are not deemed to
be in normal working condition, the Guaranteed Amount shall be adjusted in an agreed upon
amount.


         The Proceeds from the sale of the M&E Assets at the Auction shall be paid as follows:
(a) the first Proceeds in an amount equal to Initial Payment paid by Auctioneer to the Company
shall be retained by Auctioneer; (b) the next $225,000 in Proceeds shall be paid to the
Auctioneer to cover Sale Expenses; (c) the next Proceeds shall be paid to the Company until the
Company has received the Guaranteed Amount (inclusive of the Initial Payment); and (d) all
amounts in excess of the sum of the Guaranteed Amount plus $225,000 shall be split 95% to the
Company and 5% to the Auctioneer.


        Auctioneer acknowledges and agrees that Auctioneer shall be responsible for paying
Company the Guaranteed Amount, regardless of the actual proceeds from the Sale of the M&E
Assets.

       4.2    All Proceeds from the Sale or otherwise from the sale of the Assets, from any
source whatsoever, shall be immediately deposited by Auctioneer in a separate account.

        4.3     Auctioneer shall remit to Company any Proceeds due hereunder pursuant to
section 4.1 in the following manner: (1) $760,000 of the Proceeds from the Auction of the M&E
Assets located in the Seymour Facilities within ten business days of the closing of that Auction;
(2) $1,250,000 of the Proceeds from the auction of the M&E Assets for the M&E Assets located
in the Chicago Facilities within ten business days of the closing of that Auction; and (3) with a
final reconciliation and all remaining Proceeds related to the Auctions of the M&E Assets due
within fifteen business days of the final Sale Termination Date.

       4.4     Auctioneer will charge a reasonable and customary Buyer’s Premium to
purchasers of the M&E Assets at the Auctions. Any such buyer’s premium collected will not be
considered Proceeds hereunder and will be the sole property of the Auctioneer as part of its
compensation for providing the Services hereunder.

        4.5    Auctioneer shall be entitled to a commission on the sale of all Inventory
hereunder of (i) 5% of the gross proceeds of the orderly liquidation of such Inventory or (ii) the
industry standard Buyer’s Premium if the Inventory cannot be sold orderly and must be included
in the Auction. Auctioneer will remit the Proceeds related to the sale of the Inventory, net of the
Sale Expenses and its commission hereunder within ten business days after the end of each
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calendar month. In the event that payment of the Proceeds related to the sale of Inventory is
made to the Company pursuant to Section 8.11 of this Agreement or otherwise, Company will
remit the Sale Expenses and Auctioneer’s commission hereunder related to the Proceeds of the
sale of such Inventory to Auctioneer pursuant to Auctioneer’s invoice as set forth in Section 3.2
of this Agreement.

        4.6     Auctioneer shall be entitled to a commission on the sale of the Intellectual
Property, if any, of 2% of the gross proceeds thereof. Auctioneer will remit the Proceeds related
to such sales, net of its commission, within ten business days of the Sale Termination Date.



        4.7     Auctioneer acknowledges that the Company is in communication with certain
Potential Purchasers, as set forth in Schedule 1.2, who have expressed an interest in acquiring the
Chicago Facilities as a going concern, including the M&E Assets set forth in this Agreement.
Should the Company enter into a sale and purchase agreement with one of those entities on
Schedule 1.2 at a price that exceeds the sum of the Guaranteed Amount, the Sale Expenses and
Termination Fee (the “Going Concern Sale Agreement”), with a Potential Purchaser to sell the
Chicago Facilities, and specifically including the M&E Assets set forth in this Agreement, the
Auctioneer shall: (a) be entitled to a Termination Fee, full repayment of any portion of the
Guaranteed Amount that has already been paid to the Company, , and its Sale Expenses incurred
as of the execution date of the Going Concern Sale Agreement; (b) cease its efforts to sell the
M&E Assets located at the Chicago Facilities; and (c) continue its efforts to sell the M&E Assets
located at the Seymour Facilities at a 12% commission and the Buyer’s Premium and actual Sale
Expenses not to exceed $75,000. Gross Sale Proceeds from the result of the Seymour Auction
would be remitted to the Company. The Company acknowledges that any transaction pursuant
to a Going Concern Sale Agreement would need to close on or before July 6, 2022, or the
Auctioneer will be allowed to fulfill its obligations under this Agreement. The Auctioneer and
the Company further acknowledge that the Company’s senior secured lender has certain consent
and lien rights as applied to the sale of the Company’s assets and that the Company will need to
seek the consent of the Company’s senior secured lender prior to the execution of any Going
Concern Sale Agreement.


        5.         REPRESENTATIONS AND WARRANTIES OF AUCTIONEER


       5.1         Auctioneer hereby represents, warrants and covenants in favor of the Company as
follows:


                   (a)    Auctioneer has taken all necessary action required to authorize the
                          execution, performance and delivery of this Agreement, and to
                          consummate the transactions contemplated hereby;


                   (b)    This Agreement is a valid binding obligation of Auctioneer enforceable in
                          accordance with its terms;

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                   (c)   To the best of Auctioneer’s knowledge, no action or proceeding has been
                         instituted or threatened affecting the consummation of this Agreement or
                         the transactions contemplated herein;

                   (d)   Auctioneer shall not be responsible for any purchaser that defaults on its
                         obligation to complete a purchase of any of the Assets, but will use its best
                         efforts to resell any Assets affected by such default;

                   (e)   Auctioneer in no way guarantees the results from the sale of the Inventory
                         or Intellectual Property; and

                   (f)   Auctioneer shall perform all Services in a professional manner.


        6.         REPRESENTATIONS AND WARRANTIES OF THE COMPANY


        6.1    The Company hereby represents, warrants and covenants in favor of Auctioneer
as follows (subject to entry of the Approval Order):


                   (a)   The Company has taken all necessary action required to authorize the
                         execution, performance and delivery of this Agreement, and has taken all
                         steps necessary and has good and valid authority to consummate the
                         transactions contemplated hereby, including the conduct of the Auction
                         and completion of the Sale;


                   (b)   The Company has legal title to the Assets and, the Company has the legal
                         authority to sell the Assets to the general public free and clear of any liens,
                         claims or encumbrances and to distribute the Proceeds as set forth in this
                         Agreement;


                   (c)   This Agreement is a valid and binding obligation of the Company
                         enforceable in accordance with its terms; and


                   (e)   No action, arbitration, suit, notice, or legal, administrative or other
                         proceeding before any court or government body has been instituted by or
                         against the Company relating to the Assets or has been settled or resolved,
                         or to the Company’s knowledge, is threatened against the Company or the
                         Company’s business or properties, that questions the validity of this
                         Agreement or that, if adversely determined, would adversely affect the
                         conduct of the Sale.




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        7.         AFFIRMATIVE DUTIES OF AUCTIONEER


         7.1    Auctioneer shall and hereby agrees to reimburse, indemnify, defend and hold the
Company and its officers, directors, agents, and employees, harmless from and against any and
all known or unknown damage (including without limitation, any personal injury, death or
property damage), loss, expense (including reasonable attorneys’ fees) or penalty, liability or any
claim or action therefore, by or on behalf of any person, which the Company or its indemnified
affiliates may incur as a direct or indirect consequence in whole or in part of: (a) Auctioneer’s
breach of this Agreement; (b) any claims asserted by the Auctioneer’s employees or agents,
including the Auctioneer’s employees’ or agents’ payroll claims (wage claims, claims for taxes
required to be withheld from wages, social security, etc.), or unemployment compensation
claims; (c) the gross negligence or intentional misconduct of Auctioneer or any of its agents,
employees, principals or other personnel in performing the Services; and/or (d) the breach by
Auctioneer of any of its representations, warranties or other obligations under this Agreement.


        7.2        Auctioneer shall provide sufficient labor for the set up and conduct of the Sale.


        7.3    Auctioneer shall provide an accounting of the Sale no later than the fifteen
business days after the Sale Termination Date. With such accounting, Auctioneer shall also
deliver any remaining unpaid funds due and payable to the Company hereunder.


        8.         AFFIRMATIVE DUTIES OF THE COMPANY


        8.1    Throughout the Sale Term Auctioneer shall have the right to the use and
occupancy of, and peaceful and quiet possession of, the Facilities to conduct the Sale and to
allow the removal of the Assets from the Facilities. Such occupancy will be free of charge and
the Company shall be solely liable for any expenses (other than the Sale Expenses) incurred in
connection with the maintenance or operation of the Facilities, including but not limited to
payment of all occupancy charges, including rent, security, local telephone, trash services,
property taxes, utilities, water, sewer, internet, dumpster services and all other related costs.


        8.2.   Company shall, through the date of the Sale Termination Date maintain in good
working order, condition and repair, at its sole expense, all heating systems, sprinkler systems,
air conditioning systems, elevators and all other mechanical devices reasonably necessary to
allow for the conduct of the Auction and the removal of the Assets from the Facilities. The
Approval Order will provide Auctioneer proof of its right to guarantee peaceful and quiet
possession of the Facilities to conduct the Sale upon execution hereof.


       8.3    The Company shall and hereby agrees to defend, indemnify, and hold harmless
Auctioneer and its agents, employees, principals and other personnel from and against any and
all known or unknown losses, damages (including without limitation, any personal injury, death
or property damage), liabilities, claims, actions (including removal of toxic waste), judgments,

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penalties and fines, court costs and legal or other expenses (including reasonable attorneys’ fees)
which the Auctioneer may incur as a direct or indirect consequence in whole or in part of: (i) the
environmental condition of the real property on which each Facilities is located, and/or any
asserted damage, if any, to adjacent land owners, including but not limited to, alleged or actual
violations of, or alleged or actual liability for contamination under, common law or
environmental statutory local, state or federal law, including but not limited to, the Federal Water
Pollution Control Act, the Clean Air Act, the Resource Conservation and Recovery Act, the
Comprehensive Environmental Response, Compensation, and Liability Act, the Toxic
Substances Control Act, the Occupational Safety and Health Act, the Emergency Planning and
Community Right-to-Know Act, and the Safe Drinking Water Act, and comparable state and
local laws, all as now or may at any time hereafter be in effect; (ii) subject to Section 3.3, the
Company’s failure to pay to the appropriate taxing authority any taxes required to be paid by the
Company during the Sale Term in accordance with applicable law; (iii) negligence or intentional
misconduct of the Company or its agents, employees, representatives and principals in
connection with the Sale; and (iv) liens, claims, interests and encumbrances asserted against the
Assets; (v) the breach by the Company of any of its representations, warranties or other
obligations under this Agreement.


        8.4    The Company shall deliver the corresponding certificates of titles for all titled
assets included in the Assets for subject titled assets, if any.


        8.5    Company grants a limited license to Auctioneer to use Company’s name, trade
names, trademarks, and logos in connection with the Auction, including but not limited to its
marketing and in connection with Auctioneer’s own marketing materials and efforts. Auctioneer
shall be authorized to use the name “Home Products International” in its advertising of the sale
of the Assets and in its promotional materials.


        8.6    From the Effective Date of this Agreement, Company shall refer all inquiries
about the Assets to Auctioneer and shall refrain from communicating substantively with any
such inquirers. Company may not otherwise dispose of, or withdraw, any Assets from the
Auction without consent of Auctioneer.


       8.7       Company agrees that Auctioneer may, in its sole discretion, decline to sell any of
the Assets, if, in Auctioneer’s opinion, such sale would expose Auctioneer or a purchaser to a
claim of liability by any person as a result of such sale.


        8.8     Company shall be responsible for any oils, grease, contaminated materials,
regulated substances, hazardous materials, and toxic or noxious substances that may be found at
the Facilities, whether or not their point of origin is from the Assets.


       8.9       Company will, immediately after the Auction, disconnect any utilities that are
connected to any of the sold Assets in a reasonable manner designed to protect such Assets and
the Facilities, at Company’s sole cost and sole risk. Purchasers will be solely responsible for
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rigging and transport sold Assets. Auctioneer will not be responsible for the disconnection or
transport of any sold Assets. Company agrees that with respect to any export transaction
involving any of the Assets, Company shall be the U.S. principal party in interest. Accordingly,
Company authorizes Auctioneer to provide Company’s federal employer identification number
("EIN") to buyers, their agents, customs officials, or similar parties for the purposes of
completing a shipper's export declaration form or any documentation necessary to facilitate the
respective purchaser's export of the purchased Assets.


       8.10 Company agrees to provide two dedicated forklift drivers and a dedicated “mold
expert” to assist in the proper setup and display of the molds, as well as to relocate inventory and
packaging in order to clear space in the 47th Street building of the Chicago Facilities to facilitate
such display efforts.


        8.11 Company will manage the invoicing of all sales of Inventory made during the
orderly phase of this engagement, and will also provide the necessary personnel to pick, pack
and prepare such items for shipment to customers. Company will also handle the preparation
and filing of any sales tax returns related to any Inventory sales that may be made.


        9.         INSURANCE


        9.1     The Company warrants that it will maintain throughout the Sale Term liability
insurance policies (including comprehensive public liability insurance and auto liability
insurance) covering injuries to persons and property in or in connection with the operation of the
Facilities, as well as casualty insurance, on the Assets, consistent with the levels maintained on a
historical basis. The Company shall deliver certificates of insurance evidencing such insurance
policies to Auctioneer on the Sale Commencement Date and shall cause Auctioneer to be listed
as an additional insured or loss payee, as applicable, with respect to all such policies related to
the Assets. The Company shall be responsible for the payment of all deductibles, self-insurance
and other amounts payable in connection with any claim asserted under such policies, except for
any claims arising directly from the gross negligence or willful misconduct of Auctioneer, or its
employees, representatives, agents or other personnel, as determined by a final and non-
appealable order of a court of competent jurisdiction. The proceeds of any insurance resulting
from a casualty or loss to the M&E Assets shall be paid first to Auctioneer to cover the Sale
Expenses it has expended plus the Guaranteed Amount it has paid. All remaining insurance
proceeds will be retained by the Company.


       9.2     Auctioneer shall maintain at Auctioneer’s cost and expense throughout the Sale
comprehensive public liability insurance policies covering injuries to persons and property in or
in connection with Auctioneer’s services hereunder and shall cause Company to be an additional
insured with respect to all such policies.

        10.        LIMITATION OF LIABILITY AND FORCE MAJEURE


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        10.1 Auctioneer’s maximum liability for the breach of any obligation under this
Agreement or otherwise in relation to the Auction, and for damages of any type sustained by
Company or any third party shall be limited to the amounts actually received by Auctioneer for
compensation under this Agreement. Company also acknowledges that Auctioneer may utilize
third party websites and other technology, to the extent the Auction is to be conducted via the
internet, and that Auctioneer does not warrant that the use of such technology will be without
error or interruption. Company agrees that it will not seek redress from Auctioneer for any such
errors or interruptions.

         10.2 Auctioneer shall not be liable or responsible to Company, nor be deemed to have
defaulted or breached this Agreement, for any failure or delay in fulfilling or performing any
term of this Agreement when and to the extent such failure or delay is caused by or results from
acts or circumstances beyond the reasonable control of the Auctioneer including, without
limitation, acts of God, flood, fire, earthquake, explosion, governmental actions, war, invasion or
hostilities (whether war is declared or not), terrorist threats or acts, riot, or other civil unrest,
national emergency, revolution, insurrection, epidemic, pandemic, public health emergencies,
quarantines, lock-outs, strikes or other labor disputes (whether or not relating to either Party's
workforce), restraints or delays affecting the Auction or inability or delay in obtaining supplies
of adequate or suitable materials, telecommunication breakdown or power outage, suspension or
interruption of regular commercial air traffic, or the inability of either Party’s personnel to come
to work due to any of the aforementioned (a “Force Majeure Event”). The Auctioneer shall give
notice within 5 days of the occurrence of a Force Majeure Event to the Company, stating the
period of time the occurrence is expected to continue if such period of time can be reasonably
estimated. The Auctioneer shall use diligent efforts to ensure the effects of such Force Majeure
Event are minimized. The Auctioneer shall resume the performance of its obligations as soon as
reasonably practicable after the removal of the event giving rise to the Force Majeure Event. In
the event that the event giving rise to the Force Majeure Event remains in effect for a period of
30 days following written notice given by Auctioneer under this Section 11.2, Auctioneer may
thereafter terminate this Agreement upon 10 days' written notice; provided, however, that the
Company shall be allowed twenty days after receipt of such notice to cure such Force Majeure
Event if such Force Majeure Event is one capable of being cured.

        11.        MISCELLANEOUS


       11.1 Any notice or other communication under this Agreement shall be in writing and
may be delivered personally or sent by facsimile or by prepaid registered or certified mail,
addressed as follows:


                       (i)      in the case of Auctioneer:
                                Robert T. Pabst
                                HYPERAMS, LLC
                                980 Carnegie Street
                                Rolling Meadows, IL 60008
                                Attn: Robert Pabst
                                rpabst@hyperams.com

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                      (ii)     in the case of the Company:
                               Home Products International – North America Inc
                               4501 West 47th Street
                               Chicago, Illinois 60632
                               Attn: Jim Auker, CFO
                               Email: jauker@homzproducts.com


        11.2 This Agreement shall be governed by and interpreted in accordance with the
internal laws of the State of Illinois, without reference to any conflict of laws provisions.


       11.3 In the event any term or provision contained within this Agreement shall be
deemed illegal or unenforceable, then such offending term or provision shall be considered
deleted from this Agreement and the remaining terms shall continue to be in full force and effect.


        11.4 This Agreement constitutes the entire agreement between the parties with respect
to the subject matter hereof and supersedes all prior negotiations and understandings and can
only be modified by a writing signed by the Company and Auctioneer.


       11.5 Neither the Company nor Auctioneer shall assign this Agreement without the
express written consent of the other. This Agreement shall inure to the benefit of, and be binding
upon, the parties and their respective successors and permitted assigns.


        11.6 This Agreement may be executed in several counterparts, each of which when so
executed shall be deemed to be an original and such counterparts, together, shall constitute one
and the same instrument. Delivery by facsimile of this Agreement or an executed counterpart
hereof shall be deemed a good and valid execution and delivery hereof or thereof.


        11.7 Nothing contained hereof shall be deemed to create any relationship between
Auctioneer and the Company other than an agency relationship. It is stipulated that the parties
are not partners or joint venturers.


       11.8 All amounts referenced herein are in U.S. dollars, and only U.S. dollars will be
accepted as Proceeds from the Sale.


                                    (Signature Page Follows)




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                                HYPERAMS, LLC

                                By:______________________________
                                Name: ___________________________
                                          Robert T. Pabst
                                Its:______________________________
                                    Chief Operating Officer




                                HOME PRODUCTS INTERNATIONAL –
                                NORTH AMERICA, INC.

                                By:______________________________
                                Name:____________________________
                                Its:_______________________________




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                                        LIST OF EXHIBITS


1.1                M&E Asset List
1.2                List of Company Identified Purchasers




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                                   EXHIBIT 1.1
                                M & E ASSET LIST

                                   (See attached)




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                                     EXHIBIT 1.2
                              Company Identified Purchasers

1.    Material Difference Technologies (MDT)
2.    HMS Mfg Co
3.    Equipment Finance Group (EFG)
4.    Starplast




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